                    Case 3:12-cv-00047-BR           Document 1      Filed 01/10/12    Page 1 of 6



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                                       UNITED STATES DISTRICT COURT

                                               DISTRICT OF OREGON

                                                 (Portland Division)


         MEDICAL MANAGEMENT                                                  Ci.JM-0047-W
         INTERNATIONAL, INC., dba BANFIELD PET
         HOSPITAL, a Delaware corporation,
                                                                                            COMPLAINT
                                  Plaintiff,                                (BREACH OF CONTRACT;
                                                                          TORTIOUS INTERFERENCE
                                                                                  WITH CONTRACT AND
                                                                         PROSPECTIVE ADVANTAGE)
         OLUWASEYI SOBOWALE, an individual,
                                                                              JURY TRIAL DEMANDED
                                  Defendant.




                       For its complaint against defendant Oluwaseyi Sobowale, plaintiff Medical

         Management International, Inc. ("MMI") alleges as follows:

                                                      PARTIES

                        1.        PlaintiffMMI is a Delaware corporation with its principal place of

         business located in Portland, Oregon. MMI owns and operates veterinary hospitals throughout
         the United States, including in Oregon and Maryland, under the business name Banfield Pet

         Hospital ("Banfield").




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#        PAGE 1 - COMPLAINT
            Case 3:12-cv-00047-BR          Document 1       Filed 01/10/12   Page 2 of 6




                2.       Defendant Sobowale was employed by MMI as a veterinary doctor at two

Banfield hospitals located in Maryland, and he resides in Maryland.
                                  JURISDICTION AND VENUE

                3.       This court has subject matterjurisdictionpursuant to 28 U.S.C. § 1332.
Venue lies in this District pursuant to 28 U.S.C. § 1391(a)(2).
                4.       DefendantSobowale is subject to personaljurisdiction in Oregon. He has
substantial contacts with the state of Oregon. Sobowale corresponded with Banfield officials in
Portland, Oregon during contract negotiations prior to his employment. And in Sobowale's
initial Confidentiality Agreement with MMI (Section 11) and in his Supervisory Confidentiality
Agreement with MMI (Section 11), which is the agreement at issue inthis Complaint, he agreed
to exclusive jurisdiction and venue in the state or federal courts in Multnomah County, Oregon
for this dispute.
                                   FIRST CLAIM FOR RELIEF

                                   (BREACH OF CONTRACT)

                5.       Plaintiff realleges all preceding paragraphs.
                6.       MMI hired Sobowale as a veterinarydoctor in January 2004. Sobowale
was promoted to a Partner Doctor position in July 2005. During his employment, he worked at
two Banfield hospitals in Maryland.
                    7.   During Sobowale's tenure with MMI hewas exposed to and trained in
Banfield's marketing strategies, business models, delivery systems, wellness plans, PetWare, and
financial information, including hospital profitability models, all of which constitute proprietary
information that Banfield has spent millions of dollars developing. In addition, during theseven
years he was a Banfield doctor, Sobowale had regular contact with Banfield clients he served and
hadaccess to Banfield's client andpet information. Sobowale benefitted from the goodwill that
Banfield and its employees developed withtheseclients.




 PAGE 2- COMPLAINT
           Case 3:12-cv-00047-BR         Document 1        Filed 01/10/12   Page 3 of 6




              8.      Priorto commencing employment with MMI, in January 2004, Sobowale
entered into a Confidentiality Agreement with MMI, which included a confidentiality provision
and a noncompetition provision. Upon a bona fide advancement to a Partner Doctor position in
July 2005, Sobowale entered into a Supervisory Confidentiality Agreement ("Agreement"), a
copy of which is attached as Exhibit 1to this Complaint.
              9.      Under theAgreement, at Section 1,Sobowale agreed as follows (emphasis
added):

              "At all times, both during and after mv employment. I will protect and maintain
              the confidentiality of. and not use for mv own benefit or disclose to any other
              Person fas defined in Section 14 below), any confidential information belonging
               orpertaining to MMI oritsbusiness regardless ofthe form ormanner inwhich I
               obtain such information. I understand that this confidential information includes.
               butis notlimited to. computer software (source andobject code), documentation,
               research and development, customer lists and patient information, marketing and
               business plans, forms ofagreements and other legal documents, business
               procedures, systems and methods, financial statements and projections, training
               materials, treatment protocols, and any and all other information, ofevery form
               and nature, belonging or pertaining to MMI, except only such information asI
               establish was generally available to the public at the time I received it or
               subsequently became generally available tothe public other than as a result,
               directly orindirectly, ofdisclosure by Me. This obligation also extends to
               information provided to MMI by other Persons under anobligation of
               confidentiality."


               10.     In addition to the confidentiality provision in Section 1, Sobowale entered
into a noncompetition agreement. The noncompetition agreement, atSection 4.1 ofthe
 Supervisory Confidentiality Agreement, provides, inpart,

               "[F]or a period ofthree full years after I cease to be employed by MMI for any
               reason... I agree not to solicit, offer employment to, orto hire orretain (on behalf
               ofmyself orany other Person), any employee ofor contractor to MMI orto
               contact any such employee or contractor by any means, directly orindirectly, for
               the purpose ofinducing such employee orcontractor toterminate such
               relationship. During the same three year period, I agree not to solicit clients from
               any hospital or facility ofMMI (including its Affiliates) regardless ofwhether I
               worked at the hospital or facility."




 PAGE 3- COMPLAINT
            Case 3:12-cv-00047-BR       Document 1       Filed 01/10/12    Page 4 of 6




              11.     Sobowale was terminated from his employment with MMI on February 1,

2011. Accordingly, Sobowale was and is prohibited from soliciting customers and employees of

Banfield until February 1,2014.

               12.    Sobowale has breached and continues to breach Section 4.1 of the

Agreement by soliciting customers and employees of Banfield. Sobowale directly solicited

Banfield employees, including Jessica Lowe, to leave their employment at Banfield and go to
work for Sobowale's new employer, Croydon Pet Hospital.

               13.    On information and belief, Sobowale solicited current Banfield customers

to cease bringing business to Banfield, and to begin bringing his business to Croydon Pet

Hospital.

               14.    Sobowale agreed, in Section 7 of the Agreement, (with emphasis added):

              "I acknowledge that any use or disclosure of confidential information or any
              competitive activities in violation of this Agreement are likely to cause MMI
              irreparable harm for which money damages will not be an adequate remedy.
              Therefore, if I breach or threaten to breach this Agreement, MMI will be entitled
              to equitable remedies, including an injunction and/or specific performance,
              without proof of money damages. I waive any requirement that MMI post a bond
              or other security in order to obtain equitable relief."

               15.    All of the conditions precedent to defendant Sobowale's obligation to

performunder the Agreementhave been performed, satisfied, discharged or otherwiseexcused.
               16.    MMI has suffered and will continue to suffer damages as a result of

Sobowale's breaches of the Agreement, in an amount to be determined at trial but exceeding
$75,000.

               17.    Sobowale's breaches of the Agreement have caused and will continue to
cause substantial and irreparable harm to MMI. MMI is entitled to a temporaryrestraining order
and preliminary and permanent injunction preventing Sobowale from continuing to breachthe
terms of the Agreement.




PAGE 4- COMPLAINT
           Case 3:12-cv-00047-BR         Document 1       Filed 01/10/12      Page 5 of 6




                                SECOND CLAIM FOR RELIEF

                                (TORTIOUS INTERFERENCE)
               18.    Plaintiff realleges all preceding paragraphs.
               19.    Plaintiff had business relationships with the employees and customers that
defendant Sobowale solicited.
               20.    Defendant Sobowale intentionally interfered with those business
relationships, or knew that such interference was substantially certain to occur.
               21.     Defendant Sobowale interfered for an improper purpose and/or through
improper means, namely by breaching the terms ofhis noncompetition provision.
               22.     Defendant Sobowale's interference has caused MMI to suffer damages in
an amount tobeproven at trial, but inexcess of$75,000.
               23.     Defendant Sobowale acted with malice, justifying anaward ofpunitive
damages inan amount tobe determined attrial.
               WHEREFORE, plaintiff MMI prays for judgment against defendant Sobowale as
follows:

                1.     Finding infavor ofMMI onits claims for relief;
                2.     Temporarily, preliminarily, and permanently enjoining Sobowale from
 continuing to violate the terms of his Agreement;
                3.      Awarding MMI damages in an amount to be proven at trial, but in excess
 of $75,000;
                4.      Awarding MMI punitive damages in an amount to be determined at trial;
                5.      Awarding MMI its reasonable attorney's fees and costs incurred in this
 action; and
                6.      Granting such other relief and further relief as the Court finds just or
 equitable.




 PAGE 5- COMPLAINT
               Case 3:12-cv-00047-BR          Document 1         Filed 01/10/12   Page 6 of 6




                                    DEMAND FOR JURY TRIAL

                   Plaintiff demands trial byjury on all issues set forth in this Complaint.


                   DATED January/?, 2012.

                                              TONKON TORP llp




                                              By:
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PAGE 6- COMPLAINT
